         Case 1:08-cv-01186-AKH                      Document 7               Filed 07/30/2008     Page 1 of 1



                                            United States District Court
                                           Southern District of New York
                                                   Office of the Clerk
                                                    U.S. Courthouse
                                     500 Pearl Street, New York, N.Y. 10007-1213


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                                                                                    NOTICE OF REASSIGNMENT

                         Mawhinney                                                               08-1186

                               V.

                            Unger

  - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - --------X



        Pursuant to the memorandum of the Case Processing Assistant, the above-entitled action is
reassigned to the calendar of

                                                          Judge Hellerstein

       All future documents submitted in this action are to be presented in the Clerk’s Office of the
Southern District Court for filing and shall bear the assigned judge’s initials after the case number.

       The attorney(s) for the plaintiff(s) are requested to serve a copy of the Notice of
Reassignment on all defendants.

                                                                           J. Michael McMahon, CLERK

Date: 7/30/2008

                                                              By:            _Roberto A. Diaz__
                                                                               Deputy Clerk


cc: Attorneys of Record
